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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GREG & COMPANY, LLC.,

       Plaintiff,                                          Case No.: 1:24-cv-04214

v.                                                         Judge Manish S. Shah

THE PARTNERSHIPS AND                                       Magistrate Judge Heather K. McShain
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

       Defendants.
                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on 07/10/2024 [34] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

              NO.                                   DEFENDANT
              104                                   Liyong Trading




        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: February 18, 2025                              Respectfully submitted,



                                                     Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                     Chicago, Illinois 60604
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                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF(S)




   Subscribed and sworn before me by Keith A.Vogt, on this 18 of February, 2025.

  Given under by hand and notarial seal.




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                                              COUNTY OF --=-----------


                                                                GRISELDA DELGADO
                                                                  OFFICIAL SEAL
                                                   • N.otary Public, State of Illinois
                                                               My Commission Expires
                                                                  October 05, 2026
